

People v Alsaifullah (2018 NY Slip Op 04133)





People v Alsaifullah


2018 NY Slip Op 04133


Decided on June 8, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, CARNI, AND DEJOSEPH, JJ.


415 KA 15-01012

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vTALIB ALSAIFULLAH, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






D.J. &amp; J.A. CIRANDO, ESQS., SYRACUSE (JOHN A. CIRANDO OF COUNSEL), FOR DEFENDANT-APPELLANT.
TALIB ALSAIFULLAH, DEFENDANT-APPELLANT PRO SE.
JON E. BUDELMANN, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal, by permission of a Justice of the Appellate Division of the Supreme Court in the Fourth Judical Department, from an order of the Cayuga County Court (Mark H. Fandrich, A.J.), entered May 20, 2015. The order, inter alia, denied the motion of defendant pursuant to CPL 440.10 to vacate a judgment of conviction. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed.
Same memorandum as in People v Alsaifullah ([appeal No. 1] — AD3d — [June 8, 2018] [4th Dept 2018]).
Entered: June 8, 2018
Mark W. Bennett
Clerk of the Court








